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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF RHODE ISLAND


 STATE OF NEW YORK, et al.,

              Plaintiffs,

              v.                                   Civil Action No. 1:25-cv-39 (JJM)

 DONALD TRUMP, IN HIS OFFICIAL
 CAPACITY AS PRESIDENT OF THE
 UNITED STATES, et al.,

                            Defendants.

   DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO ENFORCE
                TEMPORARY RESTRAINING ORDER

       This Court entered a temporary restraining order on January 31, 2025. See

 ECF No. 50. Since that date, undersigned counsel and the Defendant agencies have

 worked diligently to assure compliance, including by conferring with Plaintiffs’

 counsel about specific compliance concerns they have raised. See ECF Nos. 66-2,

 66-3. During the scheduling conference with the Court on Thursday, February 6,

 2025, Plaintiffs’ counsel identified one particular compliance issue they intended to

 raise—i.e., whether the temporary restraining order also enjoined implementation of

 an earlier OMB Memorandum M-25-11 not directly challenged in this case. Based

 on the parties’ correspondence, however, Defendants were unaware of Plaintiffs’

 continuing compliance concerns beyond that issue, and thus Defendants were

 likewise unaware that Plaintiffs intended to file an emergency motion seeking to

 enforce the temporary restraining order.

       Defendants respectfully submit that the actions described below do not run



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 afoul of the Court’s injunction, or at least not a “clear and unambiguous command”

 in the Court’s injunction. Rather, they represent good-faith, diligent efforts to comply

 with the injunction across the broad spectrum of Federal financial assistance

 implicated by the Court’s Order. Thus, Defendants’ actions are consistent with the

 Court’s Order, and Plaintiffs’ motion should be denied.

         To the extent the Court concludes otherwise, Defendants have no objection to

 the Court clarifying the intended scope of its temporary restraining order. Indeed,

 Defendants previously requested such clarification to the extent they misunderstood

 the intended scope of the Court’s Order. See ECF No. 51 at 2. Even if the Court

 clarifies its Order, however, the Court should not modify the Order itself to include

 the additional terms requested by Plaintiffs.

         In particular, the Order should not affirmatively direct that Defendants

 “immediately restore funds,” Mot. at 16, which is impermissibly vague and would

 interfere with lawful exercises of agency discretion that are not challenged in this

 case.    Additionally, the Court should not direct Defendants to “clear[] any

 administrative, operational, or technical hurdles to implementation,” id., which is

 likewise vague and unnecessary. At most, then, the Court should clarify the intended

 scope of the temporary restraining order, but should refrain from modifying the Order

 with additional terms and directives.

                                   BACKGROUND

         On January 31, 2025, this Court entered a temporary restraining order with

 the following substantive provisions:




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          1. Defendants shall not pause, freeze, impede, block, cancel, or terminate
             Defendants’ compliance with awards and obligations to provide federal
             financial assistance to the States, and Defendants shall not impede the
             States’ access to such awards and obligations, except on the basis of the
             applicable authorizing statutes, regulations, and terms.

          2. If Defendants engage in the “identif[ication] and review” of federal
             financial assistance programs, as identified in the OMB Directive, such
             exercise shall not affect a pause, freeze, impediment, block, cancellation,
             or termination of Defendants’ compliance with such awards and
             obligations, except on the basis of the applicable authorizing statutes,
             regulations, and terms.

          3. Defendants shall also be restrained and prohibited from reissuing,
             adopting, implementing, or otherwise giving effect to the OMB Directive
             under any other name or title or through any other Defendants (or
             agency supervised, administered, or controlled by any Defendant), such
             as the continued implementation identified by the White House Press
             Secretary’s statement of January 29, 2025. ECF No. 44.

          4. Defendants’ attorneys shall provide written notice of this Order to all
             Defendants and agencies and their employees, contractors, and grantees
             by Monday, February 3, 2025, at 9 a.m. Defendants shall file a copy of
             the notice on the docket at the same time.

          5. Defendants shall comply with all notice and procedural requirements in
             the award, agreement, or other instrument relating to decisions to stop,
             delay, or otherwise withhold federal financial assistance programs.

 ECF No. 50 at 11-12. To comply with the deadline of providing written notice “to all

 Defendants and agencies and their employees, contractors, and grantees by Monday,

 February 3, 2025, at 9 a.m.,” id., Defendants promptly drafted and distributed the

 written notice of the Court’s Order, which they subsequently filed. See ECF No. 51-1.

       In their accompanying Notice, Defendants described their understanding of

 the scope of the Court’s Order. Defendants noted that “the Plaintiffs only challenged

 the OMB Memorandum,” and therefore Defendants did not “construe the Order as

 enjoining the President’s Executive Orders” themselves.            ECF No. 50 at 2.




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 Defendants also stated that they “do not read the Order as imposing compliance

 obligations on federal agencies that are not Defendants in this case.” Id. To the

 extent Defendants misunderstood the intended scope of the Court’s Order, however,

 Defendants requested that the Court notify them of such misunderstanding. Id.

       Two days later, on February 5 at 2:44 a.m., Defendants received an e-mail from

 counsel for the State of Oregon expressing concerns that certain grants from the

 Department of Labor (DOL), Environmental Protection Agency (EPA), and United

 States Geographical Survey (USGS), a component of the Department of Interior

 (DOI), remained paused in violation of the Court’s Order.       ECF No. 66-2 at 3.

 Defendants responded at 5:19 a.m. informing Oregon’s counsel that they would

 investigate those issues. Id. Later that day, Defendants sent an e-mail explaining

 the status of each funding stream. Id. at 2. The DOL grants had been paid, save for

 one that remained pending as the payment system continued to process the unusually

 large volume of payment requests. Id. The EPA grants were in the process of being

 unsuspended, with one being unsuspended and Defendants inquiring with EPA about

 prioritizing the others. Id. As to the USGS/DOI funds, Defendants explained that

 neither USGS nor DOI was a defendant in the case, and further that three particular

 grants were paused pursuant to OMB Memo M-25-11, which preceded issuance of the

 OMB Memo at issue in this case.        Counsel for Oregon responded on Friday,

 February 7, 2025, and did not express further compliance concerns.

       Separately, Defendants received an e-mail from Plaintiffs’ counsel on

 Wednesday, February 5, at 8:41 p.m., expressing broader compliance concerns as to




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 certain agencies and grant programs, and requesting a response prior to the

 scheduling conference with the Court the following morning. See ECF No. 66-3.

 Defendants provided an initial response that same night at 9:42 p.m., noting the

 difficulties of providing a substantive response in the timeframe provided and based

 on the limited details in Plaintiffs’ e-mail. Id. Nonetheless, Defendants explained

 that several agencies used the Payment Management System (PMS) operated by the

 Department of Health and Human Services (HHS), and PMS was continuing to work

 through a backlog of payment requests. Id. Defendants provided a further update at

 9:15 a.m. the following morning, prior to the Court’s scheduling conference. Id.

       During the scheduling conference, Plaintiffs raised concerns about continued

 funding pauses pursuant to OMB Memo M-25-11. Aside from the correspondence

 with counsel for Oregon, see ECF No. 66-2, Plaintiffs did not respond to Defendants’

 other e-mails regarding compliance, see ECF No. 66-3. Instead, Plaintiffs elected to

 file an emergency motion to enforce the temporary restraining order on the afternoon

 of Friday, February 7, 2025. See ECF No. 66. The Court then directed Defendants

 to file a response by Sunday, February 9, 2025. See Text Order of Feb. 7, 2025.

                                    ARGUMENT

       Defendants have worked in good faith to interpret the scope of the Court’s TRO

 and expeditiously resume any funding that is subject to it. Defendants respectfully

 submit that the actions described below are consistent with the Court’s Order, or at

 least a reasonable construction of that Order. To the extent the Court intended

 otherwise, Defendants have no objection to such clarification. But there is no need or

 basis for modifying the temporary restraining order to include additional terms. In


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 particular, Plaintiffs’ requested modifications would create further ambiguities and

 threaten to interfere with lawful agency functions not at issue in this case.

 I.     DEFENDANTS’ ACTIONS ARE CONSISTENT WITH THE COURT’S
        ORDER

        Plaintiffs’ emergency motion raises several different compliance issues:

 (A) whether the Order prohibits implementation of the earlier issued OMB

 Memorandum M-25-11; (B) whether any delays in payments stemming from

 administrative and operational reasons run afoul of the Court’s Order; and

 (C) whether other specific grant programs are properly paused.         On each issue,

 Defendants have acted consistent with the Court’s Order and there is no need for

 further relief.

        A.     The Order Does Not Unambiguously Extend to An Earlier OMB
               Memorandum Not Challenged in this Case

        Plaintiffs’ claims in this case focus exclusively on OMB Memorandum M-25-

 13, which was issued on January 27, 2025. See, e.g., Compl. ¶ 1 (“This action seeks

 declaratory and injunctive relief and vacatur under the Administrative Procedure Act

 (‘APA’) with respect to the Office of Management and Budget’s January 27, 2025,

 Directive for Heads of Executive Departments and Agencies (M-25-13), with the

 subject, “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance

 Programs[.]’”). Six days prior to OMB’s issuance of Memorandum M-25-13, OMB

 issued Memorandum M-25-11, which directs that agencies “immediately pause

 disbursement” of certain “funds appropriated under the Inflation Reduction Act of

 2022 (Public Law 117-169) or the Infrastructure Investment and Jobs Act (Public Law

 117-58).”   OMB Memorandum M-25-11, Guidance Regarding Section 7 of the


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 Executive     Order      Unleashing       American       Energy      (Jan. 21,     2025),

 https://www.whitehouse.gov/briefings-statements/2025/01/omb-memo-m-25-11/.

 Plaintiffs’ claims in this case do not challenge OMB Memorandum M-25-11.

       Any injunction must be interpreted with respect to the underlying claims in a

 lawsuit. Cf. Califano v. Yamasaki, 442 U.S. 682, 702 (1979) (“[T]he scope of injunctive

 relief is dictated by the extent of the violation established[.]”). And in general, courts

 cannot enjoin conduct that is not challenged in the complaint. See, e.g., John Doe #1

 v. Veneman, 380 F.3d 807, 819 (5th Cir. 2004) (“Where a plaintiff seeks review

 pursuant to the APA, an injunction that enjoins an agency from disclosing more than

 has been requested or more than the agency has determined to release is overbroad

 because it exceeds the legal basis for the lawsuit.”). Similarly, courts generally do

 not enter preliminary relief that seeks to “undo past actions which had already

 become final.” Akers v. Baldwin, 785 F.2d 307 (6th Cir. 1986). In light of those

 principles, the Court’s Order is properly read to prohibit only implementation of OMB

 Memo M-25-13, but not extending to implementation of OMB Memo M-25-11 which

 was issued six days earlier and is not challenged in this case.

       Plaintiffs resist this interpretation, pointing to language in the Court’s Order

 directing that:

       Defendants shall also be restrained and prohibited from reissuing,
       adopting, implementing, or otherwise giving effect to the OMB Directive
       under any other name or title or through any other Defendants (or
       agency supervised, administered, or controlled by any Defendant), such
       as the continued implementation identified by the White House Press
       Secretary’s statement of January 29, 2025.

 ECF No. 50 at 12; see Mot. at 11-12. But that language still focuses on “giving effect



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 to the OMB Directive under any other name or title,” id. (emphasis added)—and a

 separate action issued six days earlier cannot be described as “giving effect to” or

 constituting “continued implementation” of OMB Memo M-25-13 which did not yet

 exist. Plaintiffs also point to language in Defendants’ written notice acknowledging

 that the Court intended to preclude agencies from implementing funding pauses

 directed by the President’s Executive Orders, one of which OMB Memo M-25-11

 likewise implements. See Mot. at 12-13. But again, that written notice was directed

 to agencies about what they may permissibly do going forward to avoid continued

 implementation of OMB Memo M-25-13; the written notice did not instruct agencies

 that they were foreclosed from implementing separate OMB directives that preceded

 OMB Memo M-25-13 and are not challenged in this case.

       Given that Plaintiffs here do not challenge OMB Memo M-25-11, Defendants

 have reasonably interpreted the temporary restraining order not to extend to that

 Memorandum, and the Court should not enjoin something that is not properly

 challenged in the Complaint. Even if the Court disagrees, however, Defendants’

 interpretation certainly did not run afoul of a “clear and unambiguous command” in

 the Order. Cf. Goya Foods, Inc. v. Wallack Mgmt. Co., 290 F.3d 63, 76 (1st Cir. 2002)

 (“The test is whether the [enjoined party] is ‘able to ascertain from the four corners

 of the order precisely what acts are forbidden.’”).

       B.     Defendant Agencies Have Acted Diligently to Comply

        Plaintiffs’ motion next argues that some payments still have not been

 disbursed, accusing Defendants of relying on vague “operational and administrative

 reasons.”   Mot. at 14-15.    During the parties’ correspondence, Plaintiffs never


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 requested additional details regarding these reasons, and Defendants were seeking

 to provide Plaintiffs with information as quickly as possible given the exceedingly

 short deadlines for responding. See ECF No. 66-3. In any event, Defendants’ actions

 do not demonstrate noncompliance requiring further action from the Court.1

       As an initial matter, any delays resulting from an agency’s ongoing operation

 of a program—rather than continued implementation of OMB Memo M-25-13—would

 not violate the Court’s Order. The Order expressly acknowledges that agencies retain

 their authority to operate their programs according to “applicable authorizing

 statutes, regulations, and terms.” ECF No. 50 at 11-12. Agencies’ decisions to review

 payment requests to ensure they are appropriate and consistent with the underlying

 program does not constitute an impediment to funding in a way that would violate

 the Court’s Order.

       Although it is not possible to discuss every particular grant or funding stream,

 one salient example is the Payment Management System (PMS). Although PMS is

 operated by HHS, it serves as the funding disbursement platform for numerous

 agencies’   grants.    See    About     Us,    Payment     Management       Services,

 https://pms.psc.gov/about-us.html. After issuance of the OMB Memo, there was an

 unusually large number of entities that attempted to draw down funds in PMS, with

 many recipients requesting larger-than-normal amounts, sometimes up to their full



       1   Given the limited time afforded to Defendants to submit this filing,
 Defendants have not attached sworn declarations establishing the facts described in
 this filing as they normally would. The facts set forth in this filing are accurate to
 the best of undersigned counsel’s knowledge based on counsel’s communications with
 client agencies.

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 grant balance. Cf. Pls.’ PI Mot. (ECF No. 67) at 34 (describing how “[s]ome state

 agencies submitted draw requests outside of their normal cycle”).          PMS has a

 longstanding process (preceding this Administration and the OMB Memo) by which

 the system “flags” unusual payment requests for further review. As of January 31,

 2025, approximately 7000 payment requests were “flagged” for further review, which

 then required PMS to coordinate with the awarding agency for review and approval

 of each payment request. Despite the significant burden on PMS program managers,

 PMS has been working expeditiously to resolve this backlog of payment requests; as

 of earlier today, there were less than 600 requests still affected by the issue, and PMS

 continues to work through them to disburse funds. This type of operational delay—

 caused by processes related to the underlying operation of the program—does not

 constitute a “freeze” or “pause” of funding that would violate the Court’s Order.

 Rather, it is simply a feature of PMS working through an unusually large volume of

 payment requests.

       Similarly, other agencies have implemented reviews to ensure that funding is

 being distributed appropriately. At the Department of Energy (DOE), for example,

 since the January 20th transition date, in anticipation of a Senate-confirmed

 Secretary of Energy, DOE has followed a process of reviewing and approving all

 payment requests. As Plaintiffs acknowledge, that review began even before

 issuance of the challenged OMB Memo in this case. Cf. ECF No. 68-123 ¶ 36 (citing

 a January 23 e-mail from DOE project officer). And that approval process has




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 allowed payments to proceed in an orderly fashion.2 Review processes like the one

 at DOE, implemented based on DOE’s own “authorizing statutes, regulations, and

 terms,” likewise do not violate the Court’s Order.

       Finally, other agencies have exercised their own discretion and statutory

 authorities to take action regarding certain types of funding, in “compl[iance] with

 all notice and procedural requirements in the award, agreement, or other

 instrument,” ECF No. 50 at 12, as consistent with Defendants’ written notice. See

 ECF No. 51-1, ¶ 3. Plaintiffs do not contend that Defendants’ written notice is an

 improper reading of the Order, and they agree that agencies retain their own

 authorities outside of the OMB Memo. Cf. Mot. at 15-16.

       Plaintiffs suggest that noncompliance must be occurring because if

 “Defendants were able to cut off funding streams, they are equally able to turn those

 streams back on.” Mot. at 10. But it is not surprising that not distributing funding

 is easier than going through the process of reviewing payment requests to ensure that

 they are lawful and appropriate. Nor would it be surprising that unsuspending

 grants may take longer than suspending them, given the need to ensure that properly




       2 With respect to the High-Efficiency Electric Home Rebate Act program that

 Plaintiffs mention, see Mot. at 6, that program was established in section 50122 of
 the IRA and therefore any payments under that program would fall within the scope
 of OMB Memo M-25-11. Nonetheless, following receipt of the Court’s Order, DOE
 decided to continue payments under that program out of an abundance of caution. In
 the course of investigating Plaintiffs’ compliance concerns, DOE discovered that,
 contrary to its intent, payments for that program had previously not been moving
 forward toward review and approval. DOE promptly addressed the situation and has
 not paused funding for the program; DOE currently expects to issue appropriate
 payments under the program later this week.

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 suspended grants (e.g., for compliance reasons or because the budget period ended)

 remain suspended. Thus, the mere fact that some payments may have taken longer

 than normal, or some grants were not immediately unsuspended, does not itself

 suggest that agencies have subverted the Court’s Order.

       To the contrary, agencies’ processes of reviewing and disbursing payments are

 not connected to OMB Memo M-25-13, nor are they the subject of this Court’s

 injunction. Accordingly, those agency activities do not run afoul of the Court’s Order

 or warrant modification of that Order. And even if such agency activities were

 encompassed within the Court’s Order, no modification is warranted given

 Defendants’ “diligent efforts” to comply. AccuSoft Corp. v. Palo, 237 F.3d 31, 47 (1st

 Cir. 2001).

       C.      Specific Program Decisions Do Not Violate the Order

       Finally, Plaintiffs’ motion mentions several specific grant programs and

 actions that they contend violate the Court’s Order. But each of those actions was

 likewise lawful.

       First, Plaintiffs attach a declaration regarding stop-work orders on six

 particular grants. See ECF No. 66-1 ¶¶ 10-11. Although the grants are awarded by

 subcomponents of HHS, those six grants are funded by the Department of State

 through the U.S. President’s Emergency Plan for AIDS Relief (PEPFAR). See id.

 ¶¶ 6, 9-11; see generally https://www.state.gov/pepfar/. Because those grants are

 funded by the Department of State, they are subject to the pause of foreign assistance

 by or through the Department of State or USAID directed by Secretary Rubio, which

 Defendants do not understand to be subject to the Court’s Order. For one thing, the


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 Department of State is not a defendant in this case, and Plaintiffs do not appear to

 dispute that non-defendant agencies are not subject to the Court’s Order. More

 substantively, Secretary Rubio’s pause was issued on January 24, 2025—prior to

 issuance of the challenged OMB Memo—and was an exercise of his own statutory

 authorities over foreign assistance. Thus, even if these particular funds were subject

 to the Court’s Order, the stop-work orders would still be permissible as being based

 on the agency’s “applicable authorizing statutes, regulations, and terms,” and cannot

 be viewed as implementation of the challenged OMB Memo which had not yet been

 issued.

       Second, Plaintiffs contend that the National Institutes of Health (NIH)

 “abruptly cancelled an advisory committee review meeting” in connection with a

 particular grant for Brown University’s School of Public Health. Mot. at 6. Per

 Plaintiffs’ own declaration, however, funding for the current grant remains available.

 See ECF No. 68-107 ¶ 12. The Court’s Order governs continued funding for grants,

 not the scheduling of meetings that, at present, do not affect the availability of

 continued funding.

       Third, Plaintiffs invoke Head Start programs. See Mot. at 7. Those programs

 are funded by HHS and thus are subject to the Payment Management System issues

 discussed above. Counsel for HHS has confirmed that there is no pause on HHS

 funding for Head Start based on the OMB Memo.

       Finally, Plaintiffs point to an Executive Order issued on January 28 in which

 the President directed that agencies shall “consistent with applicable law . . .




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 immediately take appropriate steps to ensure that institutions receiving Federal

 research or education grants end the chemical and surgical mutilation of children.”

 Protecting Children from Chemical and Surgical Mutilation, § 4 (Jan. 28, 2025),

 https://www.whitehouse.gov/presidential-actions/2025/01/protecting-children-from-

 chemical-and-surgical-mutilation/; see Mot. at 14. By its own terms, however, that

 Executive Order directs agencies to impose a new condition on grant funding—not

 immediately pause existing grant funding.          Thus, that Executive Order is

 fundamentally different from the type of funding pause at issue in this case. And to

 the extent Plaintiffs contend that the President’s issuance of that Executive Order is

 “conduct prohibited by the [Court’s] Order,” Mot. at 14, that just further highlights

 the need to construe the Order narrowly to avoid such a significant intrusion on the

 separation of powers.

       In sum, each of the actions described in Plaintiffs’ motion is consistent with

 the Court’s Order, or at least a reasonable construction of that Order. Defendants

 therefore have not violated the Order and Plaintiffs’ motion should be denied.

 II.   THE COURT SHOULD AT MOST CLARIFY THE ORDER, NOT
       IMPOSE PLAINTIFFS’ ADDITIONAL TERMS

       To the extent the Court disagrees with the above and concludes that any of

 Defendants’ actions are contrary to the intended scope of the Court’s Order, the Court

 should simply clarify the Order’s intended scope and allow Defendants to comply with

 that clarified understanding. There is no need or basis for modifying the Order to

 include Plaintiffs’ requested additional terms.

       In particular, Plaintiffs request that the Court “order Defendants to



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 immediately restore funds until the preliminary injunction motion can be heard and

 decided.” Mot. at 16. But that language fails to define the relevant universe of

 “funds” that would have to be restored and thus would not provide sufficient guidance

 to Defendants on implementation. Cf. Fed. R. Civ. P. 65(d)(1)(B)-(C). Moreover, that

 affirmative directive that funds must be restored is contrary to the existing Order’s

 acknowledgment that agencies can still pause funds as long as they do so “on the

 basis of the applicable authorizing statutes, regulations, and terms” and in

 compliance “with all notice and procedural requirements in the award, agreement, or

 other instrument.” ECF No. 50 at 12. Plaintiffs’ own motion recognizes that such

 pauses are lawful. See Mot. at 16 (“Of course, as set forth in the Order, there could

 be an instance where a specific applicable statute, regulation or term of the grant

 allowed a pause[.]”). The Court should not modify the Order in a way that would

 upset this understanding and intrude on agencies’ lawful discretion over their funds.

       Second, Plaintiffs also request that the Court order that “Defendants

 immediately take every step necessary to effectuate the Order, including clearing any

 administrative, operational, or technical hurdles to implementation.” Mot. at 16.

 That language is likewise vague as to what exactly it requires, and would threaten to

 interfere with agencies’ abilities to ensure that all disbursements of government

 funds are valid and appropriate. Given that Defendants have acted expeditiously to

 implement the Court’s Order, there is no need to impose a more specific timeline or

 vague requirement on Defendants’ compliance.

       Accordingly, to the extent the Court believes that Defendants should take




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 further steps to comply with the Court’s intended scope of its Order, the Court should

 simply issue a decision clarifying the scope of its Order. But Defendants respectfully

 submit that there is no need to impose additional terms in the Order itself.

                                   CONCLUSION

       Plaintiffs’ motion to enforce the temporary restraining order should be denied.


 Dated: February 9, 2025                Respectfully submitted,

                                        BRETT A. SHUMATE
                                        Acting Assistant Attorney General

                                        ALEXANDER K. HAAS
                                        Director

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                         CERTIFICATION OF SERVICE

        I hereby certify that on February 9, 2025, I electronically filed the within
 Certification with the Clerk of the United States District Court for the District of
 Rhode Island using the CM/ECF System, thereby serving it on all registered users in
 accordance with Federal Rule of Civil Procedure 5(b)(2)(E) and Local Rule Gen 305.



                                                /s/ Daniel Schwei
                                                Daniel Schwei




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